Case 2:24-cv-00236-Z      Document 51    Filed 03/06/25   Page 1 of 5      PageID 557



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                           AMARILLO DIVISION


PRESIDENT DONALD J. TRUMP, an
individual, and REPRESENTATIVE RONNY
JACKSON, an individual,
                                                Case No. 2:24-cv-00236-Z
                       Plaintiffs,

      v.

PARAMOUNT GLOBAL d/b/a
PARAMOUNT, a Delaware corporation, CBS
BROADCASTING INC., a New York
corporation, and CBS INTERACTIVE INC.,
a Delaware corporation,

                       Defendants.



 DEFENDANTS MOTION TO DISMISS THE AMENDED COMPLAINT FOR LACK
  OF SUBJECT-MATTER JURISDICTION AND FAILURE TO STATE A CLAIM
Case 2:24-cv-00236-Z        Document 51        Filed 03/06/25      Page 2 of 5       PageID 558



       Defendants Paramount Global, CBS Broadcasting Inc., and CBS Interactive Inc.

                        , by and through their undersigned attorneys, respectfully move pursuant

to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure to dismiss

Amended Complaint (ECF No. 36)       Amended                        with prejudice. In support of

their motion, Defendants rely on and incorporate the accompanying memorandum of law, the

December 6, 2024 Declaration of Bill Owens and exhibits thereto, see ECF No. 25-1, the

December 6, 2024 Declaration of Gayle C. Sproul and exhibit thereto, see ECF No. 25-2, the

concurrently filed Declaration of Bill Owens and exhibit thereto, and the concurrently filed

Declaration of Gayle C. Sproul.

       As more fully described in the memorandum of law, the Amended Complaint should be

dismissed for multiple, independent reasons.

       First,

the First Amendment.

       Second                                             -commercial speech that lies wholly

outside the scope of both the Lanham Act and the Texas Deceptive Trade Practices Act



       Third, this Court lacks subject-matter jurisdiction. Plaintiffs                    tens of

millions of other American consumer                      see ECF No. 36 ¶ 197, is precisely the

kind of generalized grievance that does not confer Article III standing. Moreover, insofar as



to Truth Social, it is the Trump Media & Technology Group       not President Trump personally

that suffered any such harm, just as, insofar as the claimed damages on the DTPA claim relate to

allegedly lost fundraising, it is the Trump campaign   not Plaintiffs individually   that suffered



                                               1
Case 2:24-cv-00236-Z          Document 51          Filed 03/06/25   Page 3 of 5   PageID 559



any such harm. Further, insofar as the claimed harm is to                    electoral prospects,

that claim is mooted by the election, which he won. Representative Ronny Jackson does not

allege that he suffered any concrete harm caused by Defendants.

        Fourth, President Trump fails to plead the elements of a Lanham Act claim. He does not



not plead any actionable misrepresentation, does not plead that any misrepresentation influenced

any purchasing decision, and does not plead that he individually suffered an injury to a

commercial interest.

        Fifth, Plaintiffs fail to plead with the necessary particularity the elements of a DTPA



services, that they were actually confused or misled, or that they detrimentally relied on any

purportedly false or misleading representation.

        For the foregoing reasons, Defendants respectfully request that the Court dismiss

Plaintiff              Complaint with prejudice.




                                                   2
Case 2:24-cv-00236-Z      Document 51     Filed 03/06/25      Page 4 of 5    PageID 560



Respectfully submitted,

                                        /s/ Thomas C. Riney

                                        UNDERWOOD LAW FIRM, P.C.

                                        Thomas C. Riney
                                        State Bar No. 16935100
                                        C. Jason Fenton
                                        State Bar No. 24087505
                                        PO Box 9158 (79105-9158)
                                        500 S. Taylor, Suite 1200
                                        Amarillo, TX 79101
                                        Telephone: (806) 376-5613
                                        Facsimile: (806) 379-0316
                                        tom.riney@uwlaw.com
                                        jason.fenton@uwlaw.com

                                        JACKSON WALKER LLP

                                        Marc A. Fuller
                                        State Bar No. 24032210
                                        2323 Ross Ave., Ste. 600
                                        Dallas, TX 75201
                                        Telephone: (214) 953-6000
                                        Facsimile: (214) 953-5822
                                        mfuller@jw.com

                                        DAVIS WRIGHT TREMAINE LLP

                                        Elizabeth A. McNamara (admitted pro hac vice)
                                        Jeremy A. Chase (admitted pro hac vice)
                                        Alexandra Perloff-Giles (admitted pro hac vice)
                                        1251 Avenue of the Americas, 21st Floor
                                        New York, NY 10020
                                        Telephone: (212) 489-8230
                                        elizabethmcnamara@dwt.com
                                        jeremychase@dwt.com
                                        alexandraperloffgiles@dwt.com

                                        Attorneys for Paramount Global, CBS Broadcasting
                                        Inc. and CBS Interactive Inc.




                                           3
Case 2:24-cv-00236-Z        Document 51         Filed 03/06/25      Page 5 of 5    PageID 561



                               CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2025 a true and correct copy of the foregoing was

served via CM/ECF on all counsel of record.


                                              /s/ Thomas C. Riney
